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                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

In the matter of                      ) IN PROCEEDINGS UNDER CHAPTER 7
                                      )
JONNA JUNE L. ROLLA,                  ) No. 21-30653
                                      )
       Debtor,                        )

                MOTION TO RE-OPEN CHAPTER 7 PROCEEDINGS

       COMES NOW the Debtor JONNA JUNE L. ROLLA by Karl J. Wulff, her

attorney, and for her Motion to Re-Open Chapter 7 Proceedings states to the Court as

follows that:

       1.       Debtor filed a Voluntary Petition under 11 U.S.C. Chapter 7 on September

29, 2021 and Robert E. Eggmann was appointed as Chapter 7 Trustee to administer assets

of the bankruptcy estate for the benefits of the Debtor’s creditors.

       2.       Trustee Robert Eggmann filed his Report of No Distribution on November

19, 2021 and an Order Discharging Chapter 7 Debtor was entered on January 24, 2022.

The case was closed on February 8, 2022.

       3.       That it has since been brought to the attention of the undersigned that the

Debtor mistakenly omitted certain pre-petition assets relating to a running dispute with

her ex-spouse, including proceeds of the death benefit of a life insurance policy owned by

Debtor’s ex-spouse and provided by Debtor’s ex-spouse’s employer in which Debtor now

claims a 50% joint interest, as well as various claims for contribution from this ex-spouse

for expenses incurred for the benefit of Debtor’s children as well as division of stimulus

payments in which Debtor claims an interest. These claims were unknown to Debtor at
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the time that her Voluntary Petition was filed and continue to be unliquidated and

contingent as of the date of this writing, pending a determination by the state court.

         4.     That 11 U.S.C. §350(b) provides that a case may be reopened in the court in

which such case was closed to administer assets, to accord relief to the debtor, or for other

cause.

         5.     That good cause exists for re-opening the instant case so that a case trustee

may be appointed to administer assets for the benefits of Debtor’s creditors.

         WHEREFORE, Debtor prays for an order re-opening the instant proceeding and

for such other and further relief which the Court may deem proper in the premises.

                                       /s/ KARL J. WULFF
                                       __________________________________
                                       KARL J. WULFF, A.R.D.C. # 6244158.
                                       KATZ & WULFF, P.C.
                                       Attorney for the Debtor
                                       430 Regency Centre
                                       Collinsville, Illinois 62234
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                                         )
JONNA JUNE L. ROLLA,                     ) No. 21-30653
                                         )
        Debtor,                          )

                                  CERTIFICATE OF SERVICE

        The undersigned, Karl J. Wulff, attorney for Debtor(s), hereby certifies that the

foregoing document was mailed to all creditors of record not being electronically served,

and to the Debtor(s), on this 11th day of May, 2022 with the correct postage prepaid and

deposited in the U.S. Mail in Collinsville, Illinois.

Jonna Miller nee Rolla
1329 Bossler Lane
O’Fallon, IL 62269

AND TO ALL INTERESTED                       PARTIES     WHO    WERE      NOT     SERVED
ELECTRONICALLY

on this 11th day of May, 2022, with the correct postage prepaid and deposited in the U.S.

Mail in Collinsville, Illinois.


                                         /s/ KARL J. WULFF
                                         __________________________________
                                         KARL J. WULFF, A.R.D.C. # 6244158.
                                         KATZ & WULFF, P.C.
                                         Attorney for the Debtor
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